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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

CHRISTINE MCGOVERAN, JOSEPH                     )
VALENTINE, and AMELIA RODRIGUEZ,                )
on behalf of themselves and all other persons   )
similarly situated, known and unknown,          )   Case No. 20-cv-31-NJR
                                                )
              Plaintiffs,                           Hon. Nancy J. Rosenstengel
                                                )
                        v.                      )
                                                )
AMAZON WEB SERVICES, INC., and                  )
PINDROP SECURITY, INC.,                         )
              Defendants.                       )


                    PLAINTIFFS’ OPPOSITION TO DEFENDANT
                AMAZON WEB SERVICES, INC.’S MOTION TO DISMISS
           UNDER FEDERAL RULES OF CIVIL PROCEDURE 12(B)(2) AND 12(B)(6)
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       The Court should deny Defendant Amazon Web Services, Inc.’s (“AWS”) motion to

dismiss because each of AWS’s arguments lacks merit. AWS cannot dispute that the complaint

contains detailed allegations of AWS’s collection, possession, and use of biometric voice data—

all of which AWS publicly advertises. Instead, AWS misleadingly, and inaccurately, labels

Plaintiffs’ allegations “conclusory,” and advances entirely unsupported legal theories that are

contrary to controlling authority and incorrect as a matter of law. AWS’s arguments are

baseless:

      Even setting aside AWS’s waiver of its personal jurisdiction defense, AWS is subject to
       personal jurisdiction in Illinois because it intentionally collected, possessed, and used
       biometric voice data from Illinois citizens using Illinois phone numbers in Illinois.

      The complaint, which describes in detail the process by which AWS harvested and
       profited from Illinois citizens’ biometric voice data, far more than adequately pleads
       Illinois Biometric Information Privacy Act (740 ILCS 14/1 et seq.) (“BIPA”) claims.

      AWS’s unfounded and unsupported argument that it is subject to BIPA’s financial
       institutions exemption based on its commercial relationship with a financial institution is
       directly contrary to BIPA’s plain language.

      AWS’s demand that this Court create new law by exempting third parties from BIPA is
       fundamentally inconsistent with BIPA’s plain language, has been expressly rejected by
       other courts, and would materially undermine BIPA’s purpose and intent.

      AWS’s assertion that Plaintiffs have failed to plead that AWS acted with the requisite
       state of mind is legally incorrect, as there is no requirement that Plaintiffs plead AWS’s
       state of mind, and Plaintiffs have, in any event, clearly done so.

For these reasons, and the additional reasons set forth below, AWS’s motion should be denied.

                                        BACKGROUND

       A.      Defendant Amazon Web Services, Inc.

       AWS provides call center services to corporations in Illinois and throughout the country.

Complaint, Doc. 1-1 (“Compl.”) ¶¶ 29, 50‒52, 74. AWS sells its cloud-based call center

services under the brand “Amazon Connect.” Compl. ¶¶ 46–47, 53. AWS markets Amazon
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Connect to potential customers by advertising Amazon Connect’s ability to “integrat[e]” with

services and technology provided by various vendors. Id. ¶ 50. AWS selects and vets the vendor

“partners” that provide these services and technology, lists these vendor partners on its website

and in its marketing materials, and publishes guidance explaining its process for “integrat[ing]”

these vendor partners’ technology and services into its call center offerings. Id. ¶¶ 50–52.

AWS’s corporate clients, including John Hancock, contract with AWS and its vendor partners to

purchase and implement integrated call center services and technology. Id. ¶ 71.

       B.      AWS’s Collection, Possession, and Use of Biometric Voice Data

       One of AWS’s partners is Pindrop Security, Inc. (“Pindrop”). AWS and Pindrop have

jointly developed a method for integrating biometric voice recognition technology into Amazon

Connect’s call center services. Id. ¶¶ 51–52, 55. AWS uses this biometric voice recognition

technology as a selling point to distinguish AWS’s call center services. Id. ¶¶ 55–56. By

advertising biometric voice recognition as a feature of Amazon Connect call centers, AWS

attracts more customers, sells more call center services, and thereby profits. Id. ¶¶ 53–56, 65.

       AWS’s collection, possession, and use of biometric voice data takes place as follows:

First, AWS sends callers’ voice data to Pindrop for processing. Id. ¶ 58 n.11 (quoting Amazon

Connect Pindrop Integration Guide, Doc. 57-1 (“Integration Guide”)). Pindrop processes this

voice data and converts it into biometric voice data. Id. ¶¶ 57–59. Pindrop then sends the

biometric voice data to AWS, which it uses in various ways, including by “handl[ing] the caller

based on” an assigned “risk score” and disseminating the biometric voice data to Amazon

Connect end users. Id. Additionally, AWS identifies inbound callers using their biometric

voiceprints. Id. ¶¶ 52, 72–73.




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        AWS has not made available to the public a written policy establishing a retention

schedule and destruction guidelines for biometric voice data. Id. ¶¶ 62, 76. AWS does not

inform callers that their biometric voice data is being collected, let alone obtain callers’ informed

written consent. Id. ¶¶ 61, 74–75. Nor does AWS obtain consent from callers to disseminate

their biometric voice data. Id. ¶ 64.

        C.      Plaintiffs Christine McGoveran, Joseph Valentine, and Amelia Rodriguez

        Plaintiffs Christine McGoveran, Joseph Valentine, and Amelia Rodriguez filed their

complaint against AWS and Pindrop for violations of BIPA on December 17, 2019. Plaintiffs

are all Illinois citizens. Id. ¶¶ 21‒23.

        In 2019 and before, Plaintiffs called John Hancock, which used AWS’s Amazon Connect

call center services. Id. ¶¶ 70–71; Doc. 57-2, Declaration of Christine McGoveran (“McGoveran

Dec.”) ¶ 3; Doc. 57-3, Declaration of Joseph Valentine (“Valentine Dec.”) ¶ 3; Doc. 57-4,

Declaration of Amelia Rodriguez (“Rodriguez Dec.”) ¶ 3. When Plaintiffs made these calls,

Plaintiffs were residents of Illinois, were located in Illinois, and used Illinois phone numbers.

McGoveran Dec. ¶¶ 2‒5; Valentine Dec. ¶¶ 2–5; Rodriguez Dec. ¶¶ 2–5. AWS did not inform

Plaintiffs that it was collecting, possessing, and using their biometric voice data. Compl. ¶ 74.

AWS did not ask Plaintiffs for consent prior to collecting, possessing, and using their biometric

voice data. Id. ¶¶ 63, 75.

                                           ARGUMENT

        The Court should deny AWS’s motion to dismiss. First, this Court has personal

jurisdiction over AWS, which knowingly and intentionally intercepted telephone calls made by

Illinois citizens from Illinois using Illinois phone numbers. Second, Plaintiffs’ detailed

allegations that AWS has obtained, possessed, used, disseminated, and profited from Plaintiffs’

biometric voice data without obtaining informed written consent overwhelmingly demonstrate
                                                  3
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that AWS violated BIPA. Third, AWS’s unfounded and unsupported arguments that it is legally

exempt from BIPA fail as a matter of law.

  I.   AWS Is Subject to Personal Jurisdiction in This Court

       A.      AWS Has Consented to This Court’s Personal Jurisdiction

       AWS has consented to this Court’s personal jurisdiction, because it asked this Court to

compel discovery from Plaintiffs and affirmatively stated that it will seek to compel arbitration

before asserting a personal jurisdiction defense. Doc. 32.

       Where a defendant’s actions create a reasonable expectation that it will defend a suit on

the merits, or where those actions require “some effort that would be wasted if personal

jurisdiction is later found lacking,” the defendant consents to personal jurisdiction. In re

Syngenta Mass Tort Actions, No. 15-01121, 2017 WL 713694, at *6 (S.D. Ill. Feb. 20, 2017); see

also German Am. Fin. Advisors & Tr. Co. v. Rigsby, 623 Fed. Appx. 806, 809 (7th Cir. 2015)

(filing a motion asking for additional time to respond, coupled with previewing proposed

defenses unrelated to personal jurisdiction, was consent to personal jurisdiction). “Generally, a

party who requests affirmative relief and rulings from a court is considered to have waived the

personal jurisdiction defense.” In re Asbestos Products Liab. Litig. (No. VI), 921 F.3d 98, 106

(3d Cir. 2019) (citing Adam v. Saenger, 303 U.S. 59, 58 (1938)) (additional citations omitted);

Derse Inc. v. Haas Outdoors Inc., No. 09-97, 2011 WL 554060, at *3 (E.D. Wis. Feb. 4, 2011)

(motion to compel arbitration prior to asserting personal jurisdiction defense was waiver).1



       1
         See also Sterling Const. Corp. v. SOS Const. & Roofing, Inc., No. 14-1959, 2015 WL
2189588, at *2 (N.D. Ind. May 11, 2015) (same); Nationwide Agribusiness Ins. Co. v. Buhler
Barth GmbH, No. 15-00582-JAM-EPG, 2015 WL 6689572, at *2 (E.D. Cal. Oct. 30, 2015)
(same); Express Scripts, Inc. v. Apothecary Shoppe, Inc., No. 12-01035-AGF, 2013 WL
5491873, at *4 (E.D. Mo. Sept. 30, 2013) (same); McKinnon v. Doctor’s Associates, Inc., 769 F.
Supp. 216, 220 (E.D. Mich. 1991) (same).


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Thus, asking a court to compel discovery constitutes a request for affirmative relief that waives

any objection to personal jurisdiction.2

       Here, AWS unsuccessfully moved to compel discovery related to its (meritless) defense

that arbitration is required prior to asserting a personal jurisdiction defense. Docs. 32, 34, 46.

AWS did not reserve its right to contest this Court’s jurisdiction. Doc. 32. AWS’s motion

required significant briefing, and AWS attempted to support its motion by arguing that this Court

should compel arbitration, creating the reasonable expectation that AWS would submit to this

Court’s jurisdiction. Doc. 32. By seeking affirmative relief without contesting personal

jurisdiction, AWS consented to this Court’s jurisdiction.3

       B.      AWS Is Subject to Personal Jurisdiction in This Court Irrespective of Its Consent

       Irrespective of its consent, AWS is subject to Illinois’s jurisdiction because it collected,

possessed, and used the biometric voice data of Plaintiffs, who are Illinois citizens located in

Illinois with Illinois phone numbers. As discussed in detail in Plaintiffs’ opposition to Pindrop’s

motion to dismiss, Plaintiffs are not required to plead personal jurisdiction. Doc. 57 at 14.

Instead, Plaintiffs need only come forward with evidence of personal jurisdiction after a motion

to dismiss is filed. Id. Further, Plaintiffs are only required to make “a prima facie case of




       2
         See Paylan v. Bondi, No. 15-1366-AEP, 2015 WL 12819148, at *2 (M.D. Fla. Nov. 9,
2015), report and recommendation adopted, No. 15-1366-AEP, 2015 WL 9488326 (M.D. Fla.
Dec. 30, 2015); MC Asset Recovery, LLC v. Commerzbank AG, No. 06-013-Y, 2015 WL
13544919, at *5 (N.D. Tex. Dec. 10, 2015).
       3
         Further, AWS conceded Illinois’s jurisdiction in its since-withdrawn motion to transfer.
Doc. 50. AWS argued in that motion that seeking to transfer to a different Illinois court did not
waive its right to contest personal jurisdiction, citing Allied Van Lines, Inc. v. Aaron Transfer &
Storage, Inc., 200 F. Supp. 2d 941, 945 (N.D. Ill. 2002). Doc. 50 at 7. But that case stands for
the opposite proposition: that “[d]efendants apparently concede jurisdiction in Texas, as they
seek transfer to that district.” Id.
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personal jurisdiction.” Purdue Research Found. v. Sanofi-Synthelabo, S.A., 338 F.3d 773, 782

(7th Cir. 2003).

        There can be no serious dispute that Illinois courts have personal jurisdiction over

nonresidents alleged to have reached into Illinois through phone or electronic means to commit

intentional torts against Illinois residents, as AWS did here. To establish specific personal

jurisdiction over a nonresident defendant, a plaintiff must present a prima facie case that (1) the

defendant’s contacts demonstrate “that it ‘purposefully availed [itself] of the privilege of

conducting business in the forum state or purposefully directed [its] activities at the state;’” (2)

“‘the plaintiff’s alleged injury . . . [arose] out of the defendant’s forum-related activities;’” and

(3) “‘any exercise of personal jurisdiction . . . comport[s] with traditional notions of fair play and

substantial justice.’” Curry v. Revolution Labs., LLC, 949 F.3d 385, 398 (7th Cir. 2020) (quoting

Lexington Ins. Co. v. Hotai Ins. Co., Ltd., 938 F.3d 874, 878 (7th Cir. 2019)). Contrary to

AWS’s focus on its physical locations (Doc. 49 at 5), “physical presence is not necessary for a

defendant to have sufficient minimum contacts with a forum state.” Curry, 949 F.3d at 398.

Further, “‘purposeful direction’ may be shown by evidence that the defendant’s actions, even if

initiated outside of the forum state, nevertheless were directed at the forum state.” Id. (quoting

Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 774–75 (1984)). For acts that a defendant is

alleged to have taken, such as acts underlying BIPA violations, “purposefully directed” conduct

is established by “(1) intentional conduct (or ‘intentional and allegedly tortious’ conduct); (2)

expressly aimed at the forum state; (3) with the defendant’s knowledge that the effects would be

felt—that is, the plaintiff would be injured—in the forum state.” Felland v. Clifton, 682 F.3d

665, 674–75 (7th Cir. 2012) (internal quotations omitted).




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        Courts have repeatedly held that when intentional and tortious conduct takes place during

telephone communications involving a resident of the forum state and a phone number

associated with the forum state, the non-resident defendant expressly aimed its conduct at the

forum state with knowledge of its effect in the forum state. See id. (“lulling” communications by

phone and other means with a resident of the forum state that were part of an alleged fraudulent

scheme were sufficient to establish personal jurisdiction); Johnson v. Levine, No. 09-0994, 2010

WL 11565552, at *3–4 (S.D. Ill. Sept. 17, 2010) (phone calls with an Illinois resident using an

Illinois phone number on which an out-of-state defendant made allegedly fraudulent statements

established personal jurisdiction in Illinois).4

        Here, each Plaintiff made calls from Illinois. McGoveran Dec. ¶ 3; Valentine Dec. ¶ 3;

Rodriguez Dec. ¶ 3. When Plaintiffs made these calls, they were residents of Illinois, were

physically located in Illinois, and used phone numbers associated with Illinois area codes.

McGoveran Dec. ¶¶ 2–5; Valentine Dec. ¶¶ 2–5; Rodriguez Dec. ¶¶ 2–5. AWS harvested

Plaintiffs’ voice data from these calls made from Illinois using Illinois phone numbers, and sent

that data to Pindrop to collect and process Plaintiffs’ biometric voiceprints, which Pindrop then

sent back to AWS. Compl. ¶¶ 38‒43, 58‒60, 71–73; see also Integration Guide at 2. AWS’s

knowing interception of calls from Illinois residents for the collection, possession, and transfer of

their biometric voice data is the central intentional conduct at issue in this case and gives Illinois

personal jurisdiction. Indeed, Plaintiffs’ claims all arise out of the misuse of the biometric data

collected on these calls. Additionally, because Plaintiffs are “private Illinois resident[s,] there is

a strong interest in adjudicating the matter locally” and “there are sufficient minimum contacts to

establish specific personal jurisdiction without offending the notions of fair play and substantial


        4
            See also Doc. 57 at 15 n.6 (citing additional cases).

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justice.” Norberg v. Shutterfly, Inc., 152 F. Supp. 3d 1103, 1105 (N.D. Ill. 2015) (holding

Illinois had personal jurisdiction over a non-resident corporation based on its violations of

BIPA); see also Curry, 949 F.3d at 402 (“Illinois has a strong interest in providing a forum for its

residents . . . to seek redress for harms suffered within the state by an out-of-state actor.”).5

        AWS relies primarily on Walden v. Fiore, 571 U.S. 277, 284 (2014) to argue that

personal jurisdiction should not be based on the fact that Plaintiffs are located in Illinois. Doc.

49 at 3‒4. However, Walden did not change the law regarding torts committed by telephonic and

electronic means. See Curry, 949 F.3d at 396 (Walden “confirmed that the inquiry into specific

jurisdiction has not changed”). In fact, the Walden Court explicitly stated that “this case does not

present the very different questions whether and how a defendant’s virtual ‘presence’ and

conduct translate into ‘contacts’ with a particular State.” Walden, 571 U.S. at 290 n.9 (emphasis

added). Accordingly, courts in the Seventh Circuit continue to hold that personal jurisdiction

exists over defendants alleged to have virtually entered a state by phone or electronically to

commit an intentional tort against a resident.6 AWS’s wholly unsupported interpretation of

Walden would give states no ability to redress harms committed against their residents by out-of-

state defendants using telephonic or electronic communications to reach into states, and is




        5
          Because personal jurisdiction is conferred both by AWS’s consent to this Court’s
jurisdiction and AWS’s intentional acts affecting Illinois citizens described above, AWS’s
motion should be denied without jurisdictional discovery. At a minimum, jurisdictional
discovery should be granted before AWS’s personal jurisdiction arguments are accepted. See
Ticketreserve, Inc. v. Viagogo, Inc., 656 F. Supp. 2d 775, 782 (N.D. Ill. 2009) (jurisdictional
discovery appropriate where the factual record pertaining to jurisdiction is unclear).

        6
          E.g., Lowe v. CVS Pharmacy, Inc., 233 F. Supp. 3d 636, 645 (N.D. Ill. 2017) (operator’s
“act of placing a call to a phone number with an Illinois-affiliated area code” constituted
purposeful direction toward state, conferring personal jurisdiction); Greene v. Karpeles, No. 14-
1437, 2019 WL 1125796, at *7 (N.D. Ill. Mar. 12, 2019) (website operator subject to Illinois
jurisdiction based on its virtual presence here among other states).
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contrary to controlling Seventh Circuit authority. See Felland, 682 F.3d at 674–75.

        AWS is also incorrect that the complaint alleges that only John Hancock, and not AWS,

purposefully directed activity toward Illinois. Doc. 49 at 5. To be clear, the complaint does not

allege BIPA violations by John Hancock. Compl. ¶¶ 47, 71. Instead, the complaint alleges that

when Plaintiffs called customer service regarding their John Hancock accounts, the calls went to

AWS, which intentionally harvested Plaintiffs’ voice data. Compl. ¶¶ 57‒59. AWS’s virtual

entry into Illinois to collect, possess, use, disseminate, and profit from biometric voice data from

Illinois residents without complying with BIPA took place independent of conduct by John

Hancock, and subjects AWS to personal jurisdiction in Illinois.

II.     Plaintiffs’ Allegations Demonstrate That AWS Violated BIPA

        Because the complaint more than adequately alleges BIPA violations against AWS, the

Court should deny AWS’s motion, which misleadingly labels Plaintiffs’ allegations

“conclusory,” improperly argues the merits of Plaintiffs’ claims, and relies on matters outside the

complaint. A motion to dismiss for failure to state a claim is meant to “test the sufficiency of the

complaint, not to decide the merits.” Gibson v. City of Chi., 910 F.2d 1510, 1520 (7th Cir. 1990)

(citation omitted). Accordingly, a court must accept as true all well-pleaded allegations and

draw all reasonable inferences in a plaintiff’s favor. Cole v. Milwaukee Area Tech. Coll. Dist.,

634 F.3d 901, 903 (7th Cir. 2011). A complaint need only contain a short, plain statement of the

claim. Fed. R. Civ. P. 8(a)(2). A court may grant a motion to dismiss for failure to state a claim

only if the complaint lacks “enough facts to state a claim [for] relief that is plausible on its face.”

Ashcroft v. Iqbal, 556 U.S. 662, 697 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

570 (2007)); Swanson v. Citibank, N.A., 614 F.3d 400, 404 (7th Cir. 2010). Consequently, “[t]he

pleader’s responsibility” is only to “‘state a claim to relief that is plausible on its face.’”



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Swanson, 614 F.3d at 404 (quoting Twombly, 550 U.S. at 570). “‘Plausibility’ in this context

does not imply that the district court should decide whose version to believe, or which version is

more likely than not.” Swanson, 614 F.3d at 404. Rather, the Seventh Circuit has interpreted

Twombly and Iqbal’s plausibility standard to require a court to ask itself “could these things

[(plaintiffs’ factual allegations)] have happened, not did they happen.” Swanson, 614 F.3d at

404.

       Plaintiffs plausibly allege that AWS violated multiple provisions of BIPA, including

Section 15(b) (entities that “collect, capture, purchase, receive through trade, or otherwise

obtain” individuals’ biometric data must provide notice “in writing” and obtain informed written

consent); Section 15(a) (entities that possess biometric data “must develop a written policy, made

available to the public” regarding the retention and destruction of the data); Section 15(c)

(entities that possess biometric data may not “profit from” it); Section 15(d) (entities may not

disseminate biometric data without consent or authorization); and Section 15(e) (entities that

possess biometric data must “store, transmit, and protect” it from disclosure in a manner

consistent with “the reasonable standard of care within” an industry). 740 ILCS 14/15(a)–(e).

       A.      The Complaint Adequately Alleges That AWS Obtains Biometric Voice Data

       Plaintiffs have alleged in extensive detail how AWS collected and obtained their

biometric voice data in violation of Section 15(b). As AWS represents in its marketing

materials, AWS identifies callers based on analysis of their biometric voiceprints. Compl. ¶¶ 46,

50, 51, 55, 57, 59. Further, AWS and Pindrop jointly publish an “Integration Guide,” which

describes their method for collecting biometric voice data from callers, including Plaintiffs. Id. ¶

41 n.3. As described above, and as described in detail in the complaint, voice data is intercepted

by AWS, sent to Pindrop for processing, then sent back to AWS for further use. Id. ¶¶ 57, 59.

Callers’ biometric voice data is then disseminated by AWS to end users via Amazon Connect.
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Id. ¶ 60; Integration Guide at 3. Accordingly, AWS collected, possessed, and used Plaintiffs’

biometric voice data.

       Contrary to AWS’s arguments, Section 15(b) does not limit its applicability to entities

that “actively” collect biometric data. Cf. Doc. 49 at 8. Rather, Section 15(b) applies to any

private entity that “capture[s], purchase[s], receive[s] through trade, or otherwise obtain[s]”

biometric identifiers or information. 740 ILCS 14/15(b); see also Neals v. PAR Tech. Corp., 419

F. Supp. 3d 1088, 1092 (N.D. Ill. 2019) (holding that BIPA does not contain an “active”

collection requirement). AWS does not identify any language within Section 15(b) that imposes

an “active” collection requirement, because there is none.

       Moreover, even if AWS were correct that Section 15(b) required “active” collection of

biometric data, the complaint easily alleges a violation. The case on which AWS ostensibly

relies for its argument that Section 15(b) requires “active” collection of biometric data, Heard v.

Becton, Dickinson & Co., No. 19-4158-RRP, 2020 WL 887460 (N.D. Ill. Feb. 24, 2020), is in

this regard easily distinguishable. In Heard, a plaintiff failed to “allege how the data made its

way to [defendant’s] systems,” and failed to describe the defendant’s involvement in obtaining

biometric data at all. Id. at *4. The Heard plaintiff indicated he had information regarding

defendant’s collection of biometric data, but “chose not to include the information in these

statements—or any factual content concerning the critical issue of collection—in his pleadings.”

Id. at *5 (emphasis added).

       By contrast, Plaintiffs have alleged in extensive detail how AWS actively obtains and

uses voice biometric data: AWS (1) intercepts call audio via Amazon Connect, (2) collects voice

audio data, (3) sends the voice data to Pindrop for processing, (4) receives biometric voice data

from Pindrop via its servers, and (5) disseminates biometric voice data to AWS’s Amazon



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Connect users. Compl. ¶¶ 41, 51, 57–59, 73; Integration Guide at 1. Heard, accordingly, is

inapposite.

       B.      The Complaint Adequately Alleges That AWS Possessed Biometric Voice Data

       Plaintiffs’ complaint more than adequately alleges that AWS possessed Plaintiffs’

biometric data under Sections 15(a), 15(c), 15(d) and 15(e). As set forth in the complaint, when

Plaintiffs placed calls to John Hancock, AWS intercepted their voice audio data. Compl. ¶¶ 58–

59, 67–73. AWS sent this voice audio data to Pindrop for processing, Pindrop returned it to

AWS as biometric voice data, and AWS provided it to its end users. Compl. ¶¶ 45–49, 57, 59;

Integration Guide at 1. Plaintiffs’ allegations that AWS collected biometric identifiers and

created biometric information, accordingly, “sufficiently allege[]” that AWS “possessed”

biometric voice data. Namuwonge v. Kronos, Inc., 418 F. Supp. 3d 279, 283–84 (N.D. Ill. 2019)

(plaintiffs’ allegations that their employer disclosed their biometric data to a service provider

sufficiently alleged that the service provider “possessed” biometric data).

       AWS’s argument that alleging “possession” requires a plaintiff to specifically allege

“ownership,” moreover, is baseless and entirely unsupported by the statutory text.7 While BIPA

does not define the word “possession,” its plain and ordinary meaning is “the act of having or

taking into control” or “control or occupancy of property without regard to ownership.”

Merriam-Webster, https://www.merriam-webster.com/dictionary/possession (last visited June

17, 2020) (emphasis added); accord Black’s Law Dictionary (11th ed. 2019) (defining “possess”



       7
         In the event that “ownership” were required to plead or prove a claim under Sections
15(a), 15(c), 15(d) or 15(e)—which it is not—Plaintiffs’ allegations are sufficient. Plaintiffs
allege ownership by alleging that AWS “possesses” customer data, and that it creates and hosts
biometric information and biometric identifiers on its own servers. Compl. ¶¶ 48, 57–60. While
AWS argues that its policies are evidence that AWS does not own the biometric data at issue
(Doc. 49 at 11–14), moreover, AWS is not entitled to judicial notice of these policies, which may
not be considered at this stage. See Section II.D.
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as “[t]o have in one’s actual control; to have possession of”). Indeed, AWS’s own cases hold

that a plaintiff adequately alleges possession merely by alleging that biometric information was

“disclosed.” Namuwonge, 418 F. Supp. 3d at 283–84; Heard, 2020 WL 887460, at *5. In the

Heard case on which AWS relies, further, the court explicitly rejected the precise definition of

“possession” that AWS advocates. Heard, 2020 WL 887460, at *5 (Defendant “argued that the

term ‘possession’ in the BIPA contemplates an exercise of dominion and control ‘to the

exclusion of others,’ but the court disagrees.”) (emphasis added).8

       C.      The Complaint Adequately Alleges That AWS Profits from and Disseminates
               Biometric Voice Data and Violates the Applicable Standard of Care

       Plaintiffs’ allegations more than adequately demonstrate that AWS has profited from

Plaintiffs’ biometric data in violation of Section 15(c). AWS publicly advertises Amazon

Connect by touting its integration with Pindrop’s biometric voice services. Compl. ¶¶ 50–52.

By marketing biometric voice capabilities to its customers as a way of distinguishing Amazon

Connect from other providers’ call center offerings, AWS sells Amazon Connect, and thereby

profits. Id. ¶ 53–55. AWS inexplicably ignores these allegations.9



       8
         Again, Heard turned on the plaintiff’s failure to allege whether the defendant “could
freely access the data or even how [defendant] allegedly received it.” Id. (quoting with approval
Namuwonge, 418 F. Supp. 3d at 284 (“[T]he plaintiff's ‘allegation that [the employer] disclosed
their employees’ fingerprint data to [defendant service provider] sufficiently alleges that
[defendant service provider] possessed the fingerprint data collected by [the employer].’)).
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           AWS instead cites Bernal v. ADP, LLC, No. 2017-CH-12364-DBA, 2019 WL 5028609,
(Ill. Cir. Ct. Aug. 23, 2019), a case decided under Illinois’s fact-pleading standard, in support of
its position. Doc. 49 at 14. But AWS does not argue that the Illinois state law pleading
requirements apply. Further, the Bernal complaint, unlike the complaint here, was wholly
devoid of any factual allegations regarding how the defendant allegedly profited from biometric
information, and instead alleged only that the defendant “disseminate[d] biometric information to
third parties, including vendors for timekeeping, data storage, and payroll purposes.” Bernal,
2019 WL 5028609, at *4 (internal quotation marks omitted). Plaintiffs’ complaint, by contrast,
explains that AWS sells its call center services by advertising that it collects voice biometric
data, thereby generating profits for itself. Compl. ¶¶ 50–54.
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       Plaintiffs’ allegations likewise more than adequately demonstrate that AWS disseminated

Plaintiffs’ biometric data in violation of Section 15(d). The complaint alleges that AWS

intercepted the voice transmissions of Plaintiffs, sent Plaintiffs’ voice data to Pindrop for

processing, and collected, possessed, and used the resulting biometric data. Id. ¶¶ 57, 59, 67–73.

AWS then disseminated Plaintiffs’ biometric data to end users of Amazon Connect. Id. ¶¶ 34–

35, 39–43, 51, 57–59, 72–73, see also Integration Guide at 3. Again ignoring Plaintiffs’ detailed

allegations, AWS erroneously asserts that the complaint does not allege “how or to whom AWS

allegedly disclosed” biometric data. Doc. 49 at 15. AWS additionally relies on cases that, unlike

this one, lacked specific allegations regarding the manner of dissemination. See Heard, 2020

WL 887460, at *2 (alleging disclosure to “unknown” third parties); Namuwonge, 418 F. Supp.

3d at 285 (alleging that the employer had “no idea whether any Defendant sells, discloses, re-

discloses, or otherwise disseminates their biometric data”).

       Furthermore, the complaint sufficiently alleges that AWS has failed to apply the

appropriate standard of care to the biometric voice information that it collects, possesses, and

uses. Compl. ¶ 66. AWS has no publicly available policy regarding its protection and retention

of Illinois citizens’ biometric voice data, so any method of protecting Illinois citizens’ biometric

data that AWS employs is nonpublic, and within AWS’s exclusive control. Plaintiffs therefore

lack information regarding any efforts AWS has made to protect its biometric voice data from

disclosure. Plaintiffs’ allegations concerning AWS’s lack of precaution in transmitting the

sensitive biometric data of Illinois citizens are nonetheless adequate and plausible. See United

States ex rel. Presser v. Acacia Mental Health Clinic, LLC, 836 F.3d 770, 778 (7th Cir. 2016)

(“[C]ourts remain sensitive to information asymmetries that may prevent a plaintiff from offering

more detail[.]”); In re Plasma-Derivative Protein Therapies Antitrust Litig., 764 F. Supp. 2d 991,



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1003 n.10 (N.D. Ill. 2011) (given that private plaintiffs “do not have access to inside

information,” the pleading standard must account for “the fact that a complaint will ordinarily be

limited to allegations pieced together from publicly available data”); In re Broiler Chicken

Antitrust Litig., 290 F. Supp. 3d 772, 804 (N.D. Ill. 2017) (same). AWS, moreover, failed to

comply with BIPA’s requirements over a decade after the statute was enacted, which is sufficient

to create an inference that AWS failed to act with the requisite standard of care.

       D.      The Complaint Adequately Alleges That AWS Failed to Develop a Public,
               Written Policy Concerning the Destruction and Retention of Biometric Data

       The complaint’s allegations that AWS failed to develop a public, written policy

concerning the destruction and retention of biometric voice data more than adequately state a

Section 15(a) claim. Plaintiffs allege that AWS has not made available to the public any written

policy establishing a retention schedule or guidelines for permanently destroying biometric

identifiers and biometric information, as Section 15(a) requires. Compl. ¶ 62. As AWS cannot

seriously dispute, these allegations state a Section 15(a) claim.

       AWS’s argument that its general data privacy policies comply with section 15(a) of BIPA

and thus foreclose Plaintiffs’ Section 15(a) claim fails for two reasons: First, the Court may not

consider information outside the complaint on a motion to dismiss. Second, the policies AWS

attaches support Plaintiffs’ claims.

       As an initial matter, the Court cannot take judicial notice of Amazon’s alleged general

data privacy policies. A court can take judicial notice of matters of public record in ruling on a

motion to dismiss—but this “narrow exception” applies only to “undisputed fact[s].” Gen. Elec.

Capital Corp., v. Lease Resolution Corp., 128 F.3d 1074, 1081 (7th Cir. 1997) (emphasis added).

AWS provides no authority whatsoever to support its position that its website may be judicially

noticed. Indeed, courts routinely decline to take judicial notice of documents published on non-


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governmental websites. E.g., Felty v. Driver Sols., LLC, No. 13-2818-CPK, 2013 WL 5835712,

at *3 (N.D. Ill. Oct. 30, 2013) (“[The Court] is neither required nor inclined to take judicial

notice of any website material[.]”); Mussat v. Power Liens, LLC, No. 13-7853-SJC, 2014 WL

3610991, at *3 (N.D. Ill. July 21, 2014) (the internet contains information “with varying levels of

reliability” of which a court “is not required to take judicial notice”). If the Court were to

consider these policies, AWS’s motion should be converted into a motion for summary judgment

and Plaintiffs must be allowed discovery on the issue.10 See Doc. 57 at 12–13.

       Moreover, even if the Court could consider extrinsic evidence on a motion to dismiss—

and it cannot—the data privacy policies that AWS identifies affirmatively demonstrate that AWS

failed to comply with Section 15(a). Section 15(a) requires that a “private entity in possession

of” biometric data must develop and make publicly available a policy “establishing a retention

schedule and guidelines for permanently destroying biometric identifiers and biometric

information when the initial purpose for collecting or obtaining such identifiers or information

has been satisfied or within 3 years[.]” 740 ILCS 14/15(a). The policies AWS attaches make

absolutely no mention of (i) biometric information, (ii) biometric identifiers, (iii) a retention

schedule, or (iv) destruction of biometric data. Docs. 49-6, 49-7. AWS does not explain how its

general privacy policies, which say nothing about biometric information or the specific

protections required by BIPA, demonstrate compliance with Section 15(a).




       10
         Further, far from setting forth “undisputed facts,” AWS’s purported general data
privacy policies raise more questions than they answer. These policies make no mention of
Amazon Connect, Pindrop, or John Hancock. Docs. 49-6, 49-7. It is unclear whether they could
or would ever have been seen by Amazon Connect customers or members of the proposed class,
or what connection, if any, they have to the matters alleged in Plaintiffs’ complaint—all facts
regarding which Plaintiffs would be entitled to take discovery. Rule 56(d) Declaration of
Alexander L. Braitberg.
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III.   There Is No Legal Basis for AWS to Evade Plaintiffs’ Claims

       Contrary to its assertions, AWS is not immune from BIPA liability. AWS’s arguments

that it is entitled to immunity based on BIPA’s financial-institutional exception and because it is

a third-party service provider are meritless and wholly unsupported. AWS’s position that

Plaintiffs have failed to plead the requisite state of mind is, likewise, fundamentally flawed.

       A.      AWS Is Not a Financial Institution Exempt from BIPA

       AWS’s argument that it is exempt from BIPA liability because its client is an exempt

financial institution is legally incorrect and lacks any support. Doc. 49 at 6‒7. BIPA’s narrow

financial institution exemption provides only that the Act does not apply “to a financial

institution or an affiliate of a financial institution that is subject to Title V of the federal Gramm-

Leach-Bliley Act of 1999 and the rules promulgated thereunder.” 740 ILCS 14/25(c). AWS

does not attempt to argue that it is a financial institution or affiliate, and therefore cannot claim

the benefit of this exemption. AWS’s position is directly contrary to BIPA’s plain language and

basic canons of statutory interpretation. Doc. 57 at 17–18 (discussing Pindrop’s similar claim).

       Moreover, when the Illinois General Assembly wanted to immunize agents of exempt

entities from BIPA liability, it made its “intention clear” in the statute. Rosenbach v. Six Flags

Entm’t Corp., 2019 IL 123186, ¶ 25, 129 N.E.3d 1197, 1204. Along those lines, BIPA not only

exempts “[s]tate or local government agenc[ies],” 740 ILCS 14/10, but further makes clear that

“[n]othing in this Act shall be construed to apply to a contractor, subcontractor, or agent of a

State agency or local unit of government when working for that State agency or local unit of

government.” 740 ILCS 14/25(e) (emphasis added). No such provision accompanies BIPA’s

financial institution exemption. The General Assembly, accordingly, made its “intention clear.”

Rosenbach, 2019 IL 123186, 129 N.E.3d 1197, 1204. If BIPA immunity extended to any agent

of an exempt entity, section 14/25(e) would be superfluous.

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       B.      AWS’s Argument That Third-Party Service Providers Are Exempt from BIPA Is
               Contrary to BIPA’s Plain Language and Entirely Unsupported

       AWS’s argument that third-party service providers are altogether exempt from BIPA is

both directly contrary to the statutory text and entirely unsupported. Doc. 49 at 7–11. The Court

should decline to create new law by reading into BIPA AWS’s proposed exemption, which

would largely swallow the statute.

       Courts have repeatedly rejected AWS’s position that third-party service providers are

exempt from BIPA because “there is no textual support whatsoever for such a restricted view of

the statute’s application.” Neals, 419 F. Supp. 3d at 1092; Bryant v. Compass Group USA, Inc.,

958 F.3d 617, 619 (7th Cir. 2020) (employee had standing to bring BIPA claim against third-

party provider of biometric vending machines that employees were “instructed by their

employer” to use); Figueroa, 2020 WL 1848206, at *6 (third-party provider of biometric

timekeeping system was required to comply with BIPA’s informed written consent requirement).

Courts have also repeatedly rejected AWS’s argument that applying BIPA to third parties, as the

plain language of BIPA requires, would be “absurd.” Neals, 419 F. Supp. 3d at 1092; Figueroa,

2020 WL 1848206, at *6. Indeed, Neals expressly rejected an argument “that it would be

‘absurd’ to require both an employer and a third-party vendor . . . to comply with the BIPA” and

held BIPA “obligates any private entity that collects a person’s biometric information to comply

with its requirements.” 419 F. Supp. 3d at 1092. (emphasis added). In fact, when an agent or

third-party service provider obtains biometric data without first obtaining informed written

consent, “[t]hat is a textbook violation of Section 15(b).” Figueroa, 2020 WL 1848206, at *6.11

AWS is therefore subject to BIPA by its plain language.


       11
           Contrary to AWS’s assertions, Namuwonge did not endorse a blanket exemption for
third parties. Rather, it merely held that, “[w]ithout more,” a bare allegation that an employer


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       Moreover, adopting a blanket exemption for all third parties would significantly

undermine BIPA’s purpose and intent. If service providers and other third parties were made

exempt from BIPA liability, private entities would outsource the collection, processing, and

possession of biometric data to third parties, rendering no one liable under the statute. This is

because a private entity that outsourced the collection, processing, and possession of biometric

data to a third party could claim not to have violated BIPA, while the third party to which the

work was outsourced could claim immunity based on the exemption that AWS brazenly asks this

Court to create. Both would escape liability. There is no support for the notion that this result

would be in any way consistent with the Illinois General Assembly’s intent. See Rosenbach,

2019 IL 123186, 129 N.E.3d 1197, 1204.

       C.      AWS’s Argument That Plaintiffs Have Inadequately Pleaded AWS’s State of
               Mind Is Legally Incorrect

       AWS incorrectly claims that it cannot be held liable for violating BIPA unless its

activities are negligent, reckless, or intentional. Doc. 49 at 16‒17. But even if Plaintiffs were

required to allege AWS’s state of mind, they have adequately done so.


“collected the fingerprints using a system that [the third party] supplied” did “not plausibly
allege that [the third party provider] collected, captured, or otherwise obtained” biometric
information. Namuwonge, 418 F. Supp. 3d at 286; see also Figueroa, 2020 WL 1848206, at *6
(holding that “Namuwonge specifically declined to pass on th[e] question” of whether “time
clock providers owe no section 15(b) duties when employers use time clocks”). In contrast,
Plaintiffs specifically allege that AWS itself actively created, possessed, used, and disseminated
Plaintiffs’ biometric information. See Compl ¶¶ 57–59. Likewise, Heard did not immunize third
party service providers from BIPA liability. See generally, Heard, 2020 WL 887460. Similarly,
Cameron v. Polar Tech Indus., Inc. & ADP, LLC, No. 2019-CH-000013-BW (DeKalb Cty. Ill.
Cir. Ct. Aug. 23, 2019) (Doc. 49-3), an oral ruling without precedential value, limited its
decision to “the employment context,” and acknowledged the lack of support for its holding. Id.
at 22. Moreover, Bernal, another non-binding opinion limited to employment cases, dismissed a
plaintiff’s Section 15(b) claim not because of a blanket third-party service provider exemption,
but because the plaintiff “failed to allege facts sufficient enough . . . to properly assess
Defendant’s actual involvement[.]” 2019 WL 5028609, at *2–3 (Doc. 49-4). Any across-the-
board exemption for service providers is unsupported and contrary to Seventh Circuit authority.
Bryant, 958 F.3d at 619.
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       A defendant’s intent is not a pleading requirement, but a standard of culpability used only

to determine the scope of a recovery. Peatry v. Bimbo Bakeries USA, Inc., No. 19-2942-SLE,

2020 WL 919202, at *6 (N.D. Ill. Feb. 26, 2020) (citing Rosenbach, 2019 IL 123186, ¶¶ 33, 36,

129 N.E.3d at 1206‒07). AWS’s position that Plaintiffs must allege AWS’s state of mind is

therefore legally incorrect. Under BIPA, moreover, intent is only relevant to evaluating the

amount of the statutory damages available. 740 ILCS 14/20.12

       In any event, even if Plaintiffs were required to plead AWS’s state of mind, they have

adequately done so. “States of mind may be pleaded generally, but a plaintiff still must point to

details sufficient to render a claim plausible.” Pippen v. NBCUniversal Media, LLC, 734 F.3d

610, 614 (7th Cir. 2013). Allegations that a defendant “systematically collect[ed] and

disseminat[ed] biometric data without complying with BIPA” more than a decade after BIPA

was enacted create a “plausible inference” that the defendant acted with the requisite intent.

Figueroa, 2020 WL 1848206, at *7–8.13 Plaintiffs’ allegation that Pindrop and AWS continued

to collect voiceprints from Illinois residents in violation of BIPA over eleven years after BIPA’s

passage is sufficient to infer the conduct was either reckless or negligent. Compl. ¶¶ 59–66.

                                           CONCLUSION

       For the foregoing reasons, Defendants’ motion to dismiss (Doc. 49) should be denied.




       12
          BIPA also specifically allows for the recovery of relief other than statutory damages,
“including an injunction” and “reasonable attorneys’ fees and costs.” 740 ILCS 14/20. Here,
Plaintiffs seek, among other things, injunctive relief and attorneys’ fees and costs. Compl.,
Prayer for Relief, pp. 18–19. Neither requires intent. 740 ILCS 14/20.
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            See also Doc. 57 at 20, n.10 (citing four similar cases).
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      Dated: June 17, 2020            Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I certify that on June 17, 2020, I caused to be served a true and correct copy of the
foregoing with the Clerk of Court using the CM/ECF system, which will send notification of
such filing to all parties to this matter via electronic notification or otherwise.

                                                 /s/ Andrew D. Schlichter




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